Filed 09/12/19                                                                                       Case 19-21640                                                    Doc 111




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                                                                 Peter Cianchetta, SBN: 220971
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                                                            3    Elk Grove, California 95624
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                                                            5
                                                                 Attorney for Debora Leigh Miller-Zuranich
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                                                            7                           UNITED STATES BANKRUPTCY COURT
                                                            8
                                                                                         EASTERN DISTRICT OF CALIFORNIA
                                                            9
                                                                     In re:                                         Case No. 2019-21640
                                                            10
 CIANCHETTA & ASSOCIATES




                                                            11       Debora Leigh Miller-Zuranich                   DCN: PLC-07
                           8788 Elk Grove Blvd., Suite 2A




                                                            12                                    , Debtors         Hearing Date: October 8, 2019
                               Elk Grove, CA 95624




                                                            13                                                      Hearing Time: 2:00 PM
                                                                                                                    Hon. Christopher D. Jaime
                                                            14                                                      Courtroom 32 - Dept B
                                                            15
                                                                 NOTICE OF HEARING ON MOTION TO EMPLOY REAL ESTATE SALESPERSON
                                                            16
                                                                 PLEASE TAKE NOTICE that on October 8, 2019 at 2:00 PM, or as soon thereafter as the
                                                            17
                                                                 matter may be heard, in Department B of the U.S. Bankruptcy Court, Eastern District of
                                                            18

                                                            19   California, Courtroom 32, 6th floor 501 I Street, Sacramento, CA 95814, Peter Cianchetta,

                                                            20   Attorney for Debora Leigh Miller-Zuranich, pursuant to 11 USC §327 has filed a Motion to

                                                            21   Employ Real Estate Salesperson. Said grounds will be supported by this notice of motion, by
                                                            22   the pleadings and papers on file in this bankruptcy case, by declaration in support of this motion
                                                            23
                                                                 and exhibits, and by such oral and documentary evidence as the Court may permit upon the
                                                            24
                                                                 hearing of this motion. Not all information regarding the motion or the Debtors’ case is set forth
                                                            25
                                                                 in this motion, and interested parties are advised to review the court’s file at the Office of the
                                                            26

                                                            27   Clerk, 501 I Street, Suite 3-200, Sacramento, CA 95814.

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                                                                        PLEASE TAKE FURTHER NOTICE THAT pursuant to Local Bankruptcy Rule
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                                                            2    9014-1(f)(2)(iii) opposition, if any, shall be presented at the hearing on said motion. No written

                                                            3    opposition is required since motion was filed less than 28 calendar days.

                                                            4

                                                            5    Respondents can determine whether the matter has been resolved without oral argument or
                                                            6
                                                                 whether the court has issued a tentative ruling, and can view [any] pre-hearing dispositions by
                                                            7
                                                                 checking the Court’s website at www.caeb.uscourts.gov after 4:00 P.M. the day before the
                                                            8
                                                                 hearing, and parties appearing telephonically must view the pre-hearing dispositions prior to the
                                                            9

                                                            10   hearing.
 CIANCHETTA & ASSOCIATES




                                                            11
                           8788 Elk Grove Blvd., Suite 2A




                                                            12   Respectfully submitted on September 12, 2019.
                               Elk Grove, CA 95624




                                                            13                                                 CIANCHETTA & ASSOCIATES
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                                                            15                                                 /s/ Peter Cianchetta_________
                                                                                                               Peter Cianchetta, Attorney for
                                                            16                                                 Debora Leigh Miller-Zuranich
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